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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF TEXAS
                                  CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA,                          §
                                                   §
           Plaintiff,                              §
VS.                                                §   CRIMINAL ACTION NO. C-07-454-2
                                                   §
NILDA ARACELY RIVERA,                              §
                                                   §
           Defendant.                              §

                                ORDER STRIKING PLEADING(S)

      The Clerk has filed your Motion for Discovery (D.E. #26)                               ,
however, it is deficient in the area(s) checked below:

1.        Pleading is not signed. (LR 11.3)

2.        Pleading is not in compliance with LR 11.3.A.

3.        Caption of the pleading is incomplete. (LR 10.1)

4.        No certificate of service or explanation why service is not required. (CrLR12.4)

5.    X    Inadequate statement regarding conference with opposing counsel. (CrLR12.2)

6.        Separate proposed order not attached. (CrLR12.2)

7.        Motion to consolidate is not in compliance with LR 7.6.

8.        Other: ______________________________________________________________

        The Clerk is hereby ORDERED to strike the above instrument(s) from the record and
notify counsel of such action.

          SIGNED this 10th day of October, 2007.




1/1
